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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 UNITED STATES OF AMERICA,                         CR 19-90-BLG-SPW


                          Plaintiff,                     ORDER


           vs.



 MEREDITH McCONNELL,
 BARBARA MARY DAYCHIEF and
 SHERYL LYNN LAWRENCE,

                          Defendants.



      This matter comes before the Court on several motions filed by Defendant

Meredith McConnell including a Motion to Sever Defendant Lawrence(Doc. 95),

a Motion to Dismiss Counts I, II, and III ofthe Superseding Indictment(Doc. 96),

a Motion to Dismiss Count II ofthe Superseding Indictment(Doc. 97), a Motion to

Dismiss Count VIII ofthe Superseding Indictment(Doc. 98), a Motion to Strike

Surplusage in Superseding Indictment(Doc. 99), and a Motion to Dismiss Count

IV ofthe Superseding Indictment(Doc. 100). Defendant Daychiefjoins in

McConnell's Motions to Dismiss(Docs. 96,97,98)and Motion to Strike(Doc.

99).(Doc. 101). Defendant Lawrence similarly joins in McConnell's Motions to
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